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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                    Eastern Division

In re:                                                      )
                                                            )
HUBERT D BURFORD                                            )
                                                            )    Case No. 18-40013-399
                                      Debtor.               )
                                                            )    Chapter 13
DEVGRU FINANCIAL, LLC                                       )
                                                            )
                                      Creditor.             )

                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         COME NOW Melinda J. Maune and the law firm of Martin Leigh PC and hereby enter
their appearance as counsel for DEVGRU Financial, LLC (“Creditor”) in the above titled
bankruptcy matter.
         Pursuant to Fed. R. Bankr. P. 9010(b), all further pleadings and notices, including those
required under Fed. R. Bankr. P. 2002, 4001, and 9007, should be served upon the undersigned
and directed to:
                       Melinda J. Maune
                       Martin Leigh PC
                       mjm@martinleigh.com
                       1044 Main Street, Suite 900
                       Kansas City, Missouri, 64105

                                      Respectfully submitted,

                                      MARTIN LEIGH PC

                                      s/ Melinda J. Maune
                                      Melinda J. Maune, #49797, mjm@martinleigh.com
                                      Amy Tucker Ryan, #49047, atr@martinleigh.com
                                      1044 Main Street, Suite 900
                                      Kansas City, Missouri 64105
                                      Telephone:     (816) 221-1430
                                      Fax:           (816) 221-1044
                                      ATTORNEYS FOR CREDITOR
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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was filed electronically
on the 16th day of January, 2018, with the United States Bankruptcy Court, and has been served
on the parties in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s
Electronic Mail Notice List.

                                                  /s/ Melinda J. Maune
                                                  Melinda J. Maune, Attorney for Creditor
